     Case 1:25-cv-00072-CBA-TAM            Document 4       Filed 01/06/25       Page 1 of 1 PageID #: 31


                                    UNITED STATES COURTS
                                EASTERN DISTRICT OF NEW YORK
                                   QUALITY CONTROL CHECK
                                     ATTORNEY CASE OPENINGS
                                                   Corrections
     Were Corrections made to this ACO case?                                               Yes     ✔      No
 1       Attorney did not complete the initiating documents.
         Checked on http://www.nyed.circ2.dcn/cfm/ecf/atyopencase.cfm to determine who the
         attorney was that attempted to file the case and contacted that attorney in order to retrieve
         Complaint, Cover Sheet, Summons, and payment information or to advise the attorney to
         file the initiating documents.
 2       Court Designation was incorrect. Copied case, changed Court designation, deleted
         incorrect case and advised other Court. This is in conjunction with Paragraph 10-NY-E
         Division of Business Rule 50.1(d)(2)
 3       Attorney did not separate the initiating document. Separated document into individual
         attachments. Replaced Main document and attached the cover sheet and Summons (if
         applicable).
 4       Attorney did not include           Complaint             Cover Sheet           Summons
         Contacted attorney and retrieved missing document from attorney.
 5       Attorney used               Incorrect Form of Summons                 Defendant’s name and
         address not completed            Plaintiff’s attorney name and address not completed.
           Caption on the summons does not match caption on the complaint.
                   Incorrect Date.       Incorrect Case Number
         Contacted attorney and requested a corrected summons.

 6       Attorney used incorrect event when docketing the initiating document.
         Deleted document and re-docketed using the correct event.
 7                   Corrected Party Role                   Party spelling
                     Added missing Party
                     Converted from All Caps to Initial Caps
                 Added party text             Removed party text            Added alias
 8       Corrected Short Title
 9       Corrected         Basis of Jurisdiction                       Citizenship of Principal Parties
                           Nature of Suit       Cause of Action        Fee Status       County Code
                           Dollar Demand        Jury Demand            Class Action     Origin
 10      NY-E Division of Business Rule 50.1(d)(2) was not completed. Contacted attorney and
         retrieved corrected cover sheet and replaced on docket sheet.
 11                               Added case in other court to docket sheet.
 12             Added/Corrected Disclosure Statement question and response in docket entry
 13                 Page 1, Question 1(b) Plaintiff's county of residence was not indicated
 14                       Page 2, Question 2(c) was not completed or is inconsistent
 15                          Certification of Arbitration Eligibility not completed
Other
